        Case 3:14-cr-01646-MMA                    Document 144
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
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                                                                                                                JUL 08 2015
                                         UNITED STATES DISTRICT COURT
                                                                                                           CLERK US DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                        BY              ace::. DEPUTY
               UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                    v.                              (For Offenses Committed On or After November 1, 1987)
                  MARIA YANAKOPULUS (4)
                                                                       Case Number:         14CR1646 MMA

                                                                    lNGEBRAUER
                                                                    Defendant's Attorney
REGISTRA TION NO.                   48238298
o -
THE DEFENDANT:
IZI    pleaded guilty to count(s)          ONE OF THE INDICTMENT

o was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                          Nature of Offense                                                          Number(s)
18 USC 371                               CONSPIRACY                                                                      I




     The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count{s)
 IZI   Count(s)    REMAINING COUNTS                           are         dismissed on the motion ofthe United States.

 IZI   Assessment: $100.00



 IZI No fine                    0 Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or maiJing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                  14CR1646 MMA
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o    at                             A.M.              on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States MarshaL
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on   _________________ to ______________________

 at
      ------------------------ , with a certified copy of this judgment.
                                                                 UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL


                                                                                                      14CR1646 MMA
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shalt be on supervised release for a term of:
TWO (2) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as detennined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
tenn of supervision, unless otherwise ordered by court.
              The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
              substance abuse. (Check, if applicable.)
l'81          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
              The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
l'81
              Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
              The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
              resides, works, is a student, or was convicted ofa qualifYing offense. (Check if applicable.)
o             The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

              If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
         such fine or restitution that remains unpaid at the commencement of the tenn of supervised release in accordance with the Schedule of
         Payments set forth in this judgment.
             The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
         with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
         I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
         2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
         4) the defendant shall support his or her dependents and meet other family responsibilities;
         5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
             reasons;
         6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
             any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
             unless granted permission to do so by the probation officer;
         10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation ofany contraband
             observed in plain view ofthe probation officer;
         11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
         12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
             the court; .and
         13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
              personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
              with such notification requirement.


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                                 SPECIAL CONDITIONS OF SUPERVISION


     1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
        illegally and report to the probation officer within 24 hours ofany reentry to the United States; supervision
        waived upon deportation, exclusion, or voluntary departure.

     2. Not enter or reside in the Republic of Mexico without pennission of the court or probation officer.

     3. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     4. Provide complete disclosure of personal and business financial records to the probation officer as
         requested.

     5. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
        of credit without approval of the probation officer.

     6. Participate for a period of 3 months in the home detention component of the Location Monitoring
        Program, which may include electronic monitoring, GPS, Alcohol monitoring, or other automated
        identification systems; the defendant shall observe all rules of such program, as directed by the
        Probation Officer. The defendant shall maintain a residential telephone line without devices and/or
        services that may interrupt the operation of the monitoring equipment, unless excused by the Probation
        Officer. The defendant shall pay costs of location monitoring to the contract vendor not to exceed the
        sum of $12.00 for each day of participation; the defendant shall provide payment and proof of payment
        as instructed. You are restricted to your residence at all times except for employment; education;
        religious services; medical, substance abuse, or mental health treatment; attorney visits; court
        appearances; court-ordered obligations; or other activities as pre-approved by the probation officer.


II




                                                                                                   14CR1646 MMA
